
PER CURIAM.
Affirmed. See State v. Whitehead, 472 So. 2d 730 (Fla. 1985) ; Robinson v. State, 37 So. 3d 921 (Fla. 2d DCA 2010) ; Cook v. State, 816 So. 2d 773 (Fla. 2d DCA 2002) ; Diaz v. Jones, 215 So. 3d 121 (Fla. 1st DCA 2017) ; Coke v. State, 955 So. 2d 1216 (Fla. 4th DCA 2007) ; Johnson v. State, 917 So. 2d 1011 (Fla. 4th DCA 2006) ; LaMar v. State, 823 So. 2d 231 (Fla. 4th DCA 2002).
CASANUEVA, LUCAS, and ROTHSTEIN-YOUAKIM, JJ., Concur.
